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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JOHN E. REID AND ASSOCIATES, INC., —)
)
Plaintiff, )
) Case No.: 19-cv-6781
Vv. )
) Jury Demanded on
NETFLIX, INC., AVA DUVERNAY, and ) Counts I, IPT, V, VI, and VII
ARRAY ALLIANCE, INC. )
)
Defendants. )

COMPLAINT

NOW COMES Plaintiff, John E. Reid and Associates, Inc. (“Reid”), by its undersigned
counsel, Jack J. Carriglio and Corey T. Hickman of Cozen O'Connor, and for its Complaint against
Netflix, Inc. ("Netflix"), Ava DuVernay (“DuVernay”), and Array Alliance, Inc. (Duvernay and
Array Alliance, Inc. shall collectively be referred to as the “Duvernay Defendants”), alleges as
follows:

NATURE OF THE ACTION

1. This Complaint is an action brought by Reid to redress defamation and other related
wrongful conduct by Netflix, the publisher of the four-part. limited series, When They See Us,
DuVernay, the writer, creator, and director of When They See Us, and Array Alliance, Inc., a film
distributor founded by DuVernay and one of the production companies associated with When They
See Us.

2. Reid is a company that for many years has provided training programs and other
services in Illinois and many other states and abroad to law enforcement agencies, all branches of
the United States military and other military and intelligence communities, and businesses as to

interview and interrogation measures. Reid’s clients in the United States have included the United

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States Marshals Service, Federal Bureau of Investigation (“FBI”), Drug Enforcement
Administration (“DEA”), Federal Reserve Board, United States Department of State, and all
branches of the United States Military. Reid’s foreign clients have included the Dubai Police
Force, the Canadian Special Operations Forces Command Department of National Defense, and
the Ontario and Ottawa Departments of Public Safety. Reid also has maintained a substantial
client base in the State of Illinois where it resides, including the police departments or sheriffs of
Aurora, Barrington, Buffalo Grove, Burr Ridge, Carbondale, Champaign, Cook County, Crystal
Lake, Darien, DuPage, East Moline, East Peoria, Elgin, Evergreen Park, Franklin Park, Galesburg,
Genesco, Glenview, Highland Park, Lockport, Matteson, McDonough County, McHenry County,
Norridge, Oak Brook, Orland Park, Park Forest, Park Ridge, Plainfield, Rockford, Rosemont,
Schaumburg, Tinley Park, and Wheeling. Reid regularly conducts training seminars in Illinois. A
number of prospective clients of Reid are in Illinois and Reid actively markets its services there.
3. The “Reid Technique”® is a trademark of Reid and has been the method that Reid
teaches as to the interviewing, questioning and interrogation of subject persons. The Reid
Technique is a structured interview and interrogation process that consists of three stages: fact
analysis, investigative non-confrontational interview, and interrogation. Vitally important to the
instant case is that the Reid Technique does not involve and prohibits: striking or assaulting a
subject, making any promises of leniency, denying a subject any rights, conducting excessively
long interrogations, and denying a subject any physical needs. Reid also urges that extreme caution
and care be taken when interviewing or interrogating juveniles or those with mental impairments.
This information has been readily publicly available in numerous places, including on Reid’s
website. This information is also contained in Reid’s publicly available textbooks which teach the

Reid Technique.
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4, On May 31, 2019, in collaboration with the DuVernay Defendants, Netflix released
for worldwide streaming a “Netflix Original” and four-part limited series entitled When They See
Us, which purports to portray true events surrounding what is known as the “Central Park Jogger
Case.” The program has been continuously re-published since May 31, 2019 and still remains
available for viewing. The series depicts the interrogations, confessions, convictions, and
imprisonments of juvenile defendants Antron McCray, Raymond Santana Jr., Yusef Salaan, Kevin
Richardson, and Korey Wise (the “five defendants”), regarding the rape and assault of a victim in
Central Park in New York City in 1989. The program also reflects a subsequent re-investigation
of the case, the withdrawal of the charges against the five defendants, and their release from prison.

5. The When They See Us publication includes trailers and a When They See Us
Injustice Featurette.

6. Netflix has described When They See Us as “portraying the real-life story of five
teenagers, Yusef Salaam, Antron McCray, Kevin Richardson, Raymond Santana, and Korey Wise,
and how they were accused of a crime they did not commit; convicted based on false confessions,
despite a lack of physical evidence and forced to grapple with a trial, prison time, and return to
society as grown men after their imprisonment.”

7. In Episode Four of When They See Us, which is the final episode of the series, the
Defendants depict a conversation between Michael Sheehan, a New York City detective who
worked on the Central Park Jogger Case and was involved in eliciting defendants’ confessions,
Nancy Ryan, a Manhattan Assistant District Attorney who oversaw the 2002 re-investigation
which led to the dismissal of the charges against the five defendants, and another “Man” who is

assisting Ryan as her “partner” in the re-investigation.
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8. In earlier episodes of “When They See Us” and prior to the scene reflecting the
conversation among Sheehan, Ryan, and her partner, Defendants portray as true that Detective
Sheehan and other police had struck and abused the five defendants, isolated and subjected them
to many continuous hours of questioning, without food or bathroom breaks, and while withholding
parental supervision. Defendants portray as true that Sheehan and other police coerced the five
defendants to confess to crimes they had not committed. Defendants depict as true that the coerced
confessions were integral to the prosecution and wrongful convictions of the five defendants.
Defendants portray as true that the five defendants were incarcerated for long periods of time and
endured abuse and trauma while imprisoned.

9. In Episode Four, prior to the conversation with Sheehan, Ryan, and her partner that
is depicted, Defendants portray as true that Ryan, her partner, and others assisting them
investigated and established that there was a perpetrator, other than the five defendants, who had
solely committed the crime. Ryan and her partner also determined and established that the five
defendants were innocent and had involuntarily confessed to committing the crime because of
coercive tactics of Sheehan and other police in eliciting the confessions.

10. During the scene in Episode Four reflecting the discussion among Ryan, her
partner, and Sheehan, Ryan presents Sheehan with the finding that another person, Matias Reyes,
had committed the crime based on his confession and other evidence including DNA test results.
Ryan confronts Sheehan with the fact that wrongful and coerced confessions were elicited from
the five defendants by him and others and that the defendants had been wrongfully convicted and
incarcerated. Ryan and her partner tell Sheehan that he overlooked evidence that pointed to the
real rapist and instead let stand the statements extracted from the five defendants. Ryan’s partner

then states to Sheehan:
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You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

11. The remainder of Episode Four continues to relate true events surrounding the case
including that the charges against the five defendants were dismissed and they were exonerated as
the perpetrator, Mathias Reyes, was convicted of the crime. The final episode also reflects the
release of the five defendants from incarceration and their subsequent recovery of $41 million in
damages arising from their civil claims against the City of New York for the abuse they sustained
arising out of the illegal, coerced, and wrongful confessions, convictions, and incarcerations.

12. The context of When They See Us, based on the statements made in the program
and the reasonable inferences from what is portrayed, is that it is true that Sheehan and other police
used coercive, illegal and abusive tactics in the interrogation of the five defendants which produced
false confessions to crimes they did not commit, their wrongful convictions, incarcerations, and
suffering. The series also depicts as true that the City of New York eventually was held
accountable, to the tune of $41 million, for the wrongful actions of Sheehan and others, including
their coercive tactics in the interrogations and in eliciting the false confessions.

13. The context of Episode Four also portrays Ryan and her partner as persons who
uncovered the truth and who spoke accurately as to what had occurred in the Central Park Jogger
Case.

14. Defendants’ publications and depictions in Episode Four of the aforesaid
statements relating to the Reid Technique falsely disparage and defame Reid. First, the statements
defame Reid as they falsely correlate the Reid Technique to squeezing statements out of the five

defendants “after 42 hours of questioning and coercing, without food, bathroom breaks,

withholding parental supervision.” The conduct described is not the Reid Technique. Second, the
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statement that the “Reid Technique has been universally rejected” is also false and defamatory.
The Reid Technique has not been “universally rejected.” Defendants knew that the statements
were false or recklessly disregarded the truth when they published them.

15. When They See Us assigns blame for what occurred in the Central Park Jogger Case.
Besides Sheehan, other police officers, and prosecutors, Defendants also blame Reid for being the
proponent of coercive tactics that were used by Sheehan and others in eliciting coercive and
wrongful confessions. The program falsely represents that squeezing and coercing statements
from juvenile subjects after long hours of questioning without food, bathroom breaks or parental
supervision, is synonymous with the Reid Technique.

16. Netflix has stated that the When They See Us series is an “exploration and
examination of the consequences of acceptance of the Reid Technique — acceptance by the five
boys, acceptance by the prosecutors who presented their resulting confessions as evidence,
acceptance by the judge who allowed the confessions to be introduced into evidence, acceptance
by the jury of the truth of the confessions, and acceptance by society of their guilt after they served
their prison sentences and were released.”

17. The depicted conversation among Ryan, Sheehan and her partner, the “Man” in
Episode Four, did not actually occur. Defendants fabricated the conversation including the
references to the Reid Technique. Defendants did so to make the program more appealing by
spreading the blame for the wrongful conduct to Reid. Defendants intended to incite an audience
reaction against Reid for what occurred in the Central Park Jogger Case and for the coercive
interrogation tactics that continue to be used today. Defendants published the statements in When

They See Us in an effort to cause a condemnation of the Reid Technique.
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18. On June 25, 2019, Netflix announced that When They See Us had been viewed by
over 23 million people in the United States and other countries within the first month of its release
and was Netflix’s most-watched series since its release. Many of Reid’s customers and potential
customers, who are familiar with the Reid Technique, have viewed When They See Us. Reid’s
reputation and business have been harmed by Defendants’ improper conduct, while Defendants
continue to profit from their defamatory publications.

THE PARTIES

19. Reid is a corporation incorporated under the laws of the State of Illinois. Reid’s
principal place of business is located at 209 W. Jackson Blvd., Suite 400, Chicago, IL 60606. Reid
is the creator and developer of the Reid Technique, a widely used approach to question subjects in
the course of interviews and interrogations. Reid’s experienced team of instructors provides
training seminars to law enforcement and other security personnel. Since its training programs
were first offered in 1974, more than 500,000 professionals in the law enforcement and security
fields have attended Reid’s programs. Participants come from private sector organizations such as
retail, finance, health care, manufacturing, gaming, education, and insurance, among others.
Participants also come from all levels of law enforcement and government including every branch
of the United States Military. Reid has presented programs in the United States, Canada, Europe,
Asia, and the Middle East. Reid has substantial clientele in the State of Illinois where it is based.
Reid’s customers and prospective customers in Illinois and elsewhere know of the Reid Technique
and readily recognize references to it.

20. Netflix is a corporation incorporated under the laws of the State of Delaware.
Netflix’s principal place of business is located at 100 Winchester Circle, Los Gatos, California

95023. According to Netflix’s website, Netflix is “the world's leading internet entertainment
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service with over 151 million paid memberships in over 190 countries,” allowing members to
‘““watch as much as they want, anytime, anywhere, on any internet-connected screen.” In the
United States alone, Netflix has approximately 60.2 million subscribers, including many in
Illinois.”

21. Duvernay is a filmmaker residing in the State of California. Duvernay is the writer,
creator, and director of When They See Us.

22. Array Alliance, Inc. (“Array”) is a Delaware corporation with its principal place of
business at 16000 Ventura Blvd., Suite 900, Encino, California. Array produced When They See
Us. DuVernay is the chief executive officer of Array. As to all relevant allegations of this
Complaint, DuVernay acted for herself and as an agent for Array.

JURISDICTION AND VENUE

23. The Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)(1), as this is a
civil action between “Citizens of different States” wherein the amount in controversy exceeds the
sum of seventy-five thousand dollars ($75,000), exclusive of interest and costs.

24. This Court has personal jurisdiction over Netflix because it is a corporation doing
business within the State of Illinois: and, Netflix transacted business and committed tortious acts
within the State of Illinois that are the subject of this action. Netflix is also registered to do business

in Illinois. This Court has personal jurisdiction over DuVernay because she committed tortious

acts within the State of Illinois that are the subject of this action. This Court has personal

 

' https://media.netflix.com/en/about-netflix

? https://www.cnn.com/2019/04/16/media/netflix-earnings-2019-first-quarter/index.htm|

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jurisdiction over Array because it committed tortious acts within the State of Illinois that are the
subject of this action.

25. Venue is proper in this Court pursuant to 28 U.S.C. 1391(b)(2) because a substantial
part of the events or omissions giving rise to the instant claim occurred in the Northern District of
Illinois where Reid is situated and where Reid has substantial clientele and potential customers
who were exposed to the false information published by Netflix in When They See Us.
Alternatively, venue is proper in this Court pursuant to 28 U.S.C. 1391(b)(3) because this Court

has personal jurisdiction over Defendants.

ALLEGATIONS COMMON TO ALL COUNTS

A. The Reid Technique

26. The Reid Technique was developed by John E. Reid and was first taught to
investigators in 1974. Since that time it has been a widely used approach to question subjects in
the course of interviews and interrogations. Reid has taught the Reid Technique to thousands of
individuals in business, law enforcement, and government organizations, including the military.

27. | The Reid Technique is widely published and available for review. Reid’s primary
textbook, Criminal Interrogations and Confessions, 5th Edition (2013), describes and teaches the
Reid Technique in substantial detail. Reid’s website also has information regarding the Reid
Technique, including PowerPoint presentations, educational handouts, recent court decisions and
media relating to Reid, among other materials.

28. Confessions obtained using the Reid Technique have been upheld by many courts
in many different jurisdictions.

29.  Reid’s employees have served as expert witnesses in a number of cases, including

but not limited to, testifying as experts on interview and interrogation techniques for the

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prosecution and on other occasions for the defense as to allegedly wrongly convicted defendants.
These matters include the 2006 case of Earl Washington v. Virginia, where the defendants were
represented by the Innocence Project; the 2007 case of Kevin Fox v. Will County; and the 2011
case of Ryan Ferguson v. Will County.

30. The Reid Technique is a structured interview and interrogation process that consists
of three stages: fact analysis, investigative non-confrontational interview, and interrogation.

31, The factual analysis stage consists of reviewing the case facts and evidence to
identify the potential scope of suspects and their characteristics, as well as possible motives.

32. Based on an analysis of the facts, the Reid Technique then calls for the investigator
to prepare an interview strategy, including a list of issues and questions to raise with a subject.
Interview questioning generally includes, but is not limited to, background information regarding
the subject and his or her recollection of the incident in question. The interview is non-accusatory,
and the interviewer is to be neutral and objective in seeking information from the subject.

33. Based on information gathered during the interview stage, the investigator can
either eliminate the subject as truthful, continue the investigation of the subject, or initiate
interrogation of the subject. The interrogation phase consists of nine steps which may cause a
guilty subject to confess to his or her involvement and to relate details regarding the commission
of a crime or incident.

34. The Reid Technique does not involve and prohibits: striking or assaulting a subject,
making any promises of leniency, denying a subject any rights, conducting excessively long
interrogations, or denying a subject any physical needs. Reid also urges that extreme care and
caution be used with juveniles or those mentally impaired. All of this information is publicly

available upon even the most cursory of searches. For example, Reid’s website provides an

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“Educational Information” section that includes ten PowerPoint presentations providing detailed
information about the use of the Reid Technique. Reid also publishes numerous textbooks which
are available to the public detailing the use of the Reid Technique. Criminal Interrogation and
Confessions, 5th Edition (2013), is the primary textbook used for teaching the Reid Technique.

35. For all relevant time periods, Reid’s website has contained a substantial number of
articles and teaching aids which are publicly available, easy to access, and make clear that the
methods described in When They See Us are not part of the Reid Technique.

36. A PowerPoint prominently featured on Reid’s website since September 29, 2013,
entitled “What is the Reid Technique?,” provides that the “basic principles” of the Reid Technique
include:

“Do not make any promises of leniency”

“Do not threaten the subject in any way”

“Do not deny the subject any of their rights”

“Do not conduct excessively long interrogations.”

“Do not deny the subject the chance to satisfy their physical needs.”

“Exercise caution when interviewing juveniles or persons with mental or emotional
disabilities.”

37. All of these principles are repeated verbatim in another featured PowerPoint
entitled “False Confession Issues,” which has also been available on Reid’s website since
September 29, 2013. That PowerPoint provides that “false confessions are not caused by the
application of the Reid Technique, but rather they are usually caused by interrogators engaging in
improper behavior that is outside of the parameters of the Reid Technique — behaviors which the
courts have found to be coercive — threats, promises, denial of rights, etc.” The PowerPoint went
on to cite a 2011 opinion from the US District Court for the District of Massachusetts, which held
that “the proffered expert testimony to the effect that the Reid technique enhanced the risk of an

unreliable confession lacked any objective basis for support whatsoever.”

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38. The “Educational Information” section on Reid’s website also features articles
describing the Reid Technique in detail, including the core principles listed above and other best
practices. These articles include How the Courts View the Reid Technique (2016) and The Reid
Technique: A Position Paper (2017).

39.  Reid’s website describes that special care must be taken when the Reid Technique
is used with juveniles or those with mental impairments. On September 29, 2012, Reid published
an article on its website entitled “Interrogators should exercise special precautions when
interviewing juveniles or individuals with mental or psychological impairments,” which provided:

Basic Law Enforcement training manuals oftentimes point out specific precautions
that should be exercised when dealing with mentally impaired persons. For
example, the state of North Carolina basic law enforcement training manuals
specifically point out the following: Mentally impaired (retarded) individuals have
poor judgment; are easily influenced by authority figures; may be unable to
formulate thoughts and answer questions readily; may not always understand their
rights; have an impaired ability to reason and understand the consequences of their
actions. Consequently, when an investigator is dealing with a mentally impaired
individual, they should “consider whether the person they’re interviewing
understood the question being asked”.... “go slowly and that rapid questions during
an interview or confrontation may confuse or frighten the person” ... “the use of
suggestive questions must be avoided because such questions tend to produce
erroneous answers”... It is imperative for all interrogators to exercise extreme
caution during the interrogation of a juvenile or a person who is mentally or
psychologically impaired, and to keep in mind the safeguards outlined above.

40. An article dated June 4, 2017, on Reid’s website, entitled “The Juvenile Law
Center, Wicklander-Zulawski and Professor Garrett refer to Reid as the ‘leading law enforcement
training firm’ and quote Reid as a reference on proper juvenile interrogation techniques,” provides
in relevant part:

Reid & Associates, Inc., developer of the Reid Technique of interrogation and leading law

enforcement training firm, also instructs law enforcement officers to take special

precautions when interviewing juveniles or individuals with significant mental or
psychological impairments. Every interrogator must exercise extreme caution and care

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when interviewing or interrogating a juvenile or a person who is mentally or
psychologically impaired. Certainly these individuals can and do commit very serious
crimes, but since many false confession cases involve juveniles and/or individuals with
some significant mental or psychological disabilities, extreme care must be exercised when
questioning these individuals and the investigator has to modify their approach with these
individuals.

Furthermore, when a juvenile or person who is mentally or psychologically impaired

confesses, the investigator should exercise extreme diligence in establishing the accuracy

of such a statement through subsequent corroboration. In these situations it is imperative
that the interrogator does not reveal details of the crime so that they can use the disclosure
of such information by the suspect as verification of the confession's authenticity.

41. An “Investigator Tip” on Reid’s website, dated July 2016 and entitled “Making a
Murderer: the Reid Technique and Juvenile Interrogations,” also details the extreme caution that
must be used with regards to juveniles.

42. Also related to the Dassey v. Dittmann case in the Making A Murderer series and
available on the Reid website since January/February 2017 were “Investigator Tips” which
included:

“Physical coercion, torture, duress, denial of rights, threats, and promises of

leniency are the poison pills of legally admissible, reliable and voluntary
confessions.

43. The “Investigator Tips” also reflected concerns given “Dassey’s age, intellectual
deficits, and the absence of a supportive adult...” during Dassey’s interrogation.

44, —_ Reid’s website has also reflected materials demonstrating that withholding of
parental or adult supervision is not part of the Reid Technique. Reid published an article on its
website, dated January 16, 2016, which cited a juvenile interrogation guide emphasizing the
importance of a juvenile having a “friendly adult” to consult with throughout the interrogation
process: “It is essential to involve a ‘friendly adult’ in the juvenile interrogation process and to
allow him or her meaningful opportunities to privately consult with the juvenile throughout the

interrogation.”

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45. Further, a handout which is contained in Reid’s primary textbook, and which since
at least 2015 has been provided to all persons who attend Reid’s courses, states:

The best way to avoid false confessions is to conduct interrogations in accordance
with the guidelines established by the courts, and to adhere to the following
practices:

Do not make any promises of leniency
Do not threaten the subject with any physical harm or inevitable consequences
Do not conduct interrogations for an excessively lengthy period of time
Do not deny the subject any of their rights
Do not deny the subject the opportunity to satisfy their physical needs
Withhold information about the details of the crime from the subject so that if
the subject confesses he can reveal information only the guilty would know
e Exercise special cautions when questioning juveniles or individuals with mental
or psychological impairments
Always treat the subject with dignity and respect
e The confession is not the end of the investigation — investigate the confession
details in an effort to establish the authenticity of the subject’s statement

False confessions are not caused by the application of the Reid Technique, they are
usually caused by interrogators engaging in improper behavior that is outside the
parameters of the core principles of The Reid Technique — using improper
interrogation procedures — engaging in behavior that the courts have ruled to be.
objectionable, such as threatening inevitable consequences; making a promise of
leniency in return for the confession; denying a subject their rights; conducting an
excessively long interrogation; etc.

46. — Reid’s primary textbook further expands on this information. The 3rd Edition
(1986) of that textbook which was in effect at the time of the Central Park Jogger Case provided,

in relevant part:

e The clearest example of an interrogation practice that will void a confession is the infliction
of physical force or pain upon the person under interrogation, because it is an uncontestable
fact that harm of this nature may produce a confession of guilt from an innocent person.

(p. 214)

e This is also true as regards indirect physical harm; for instance, an unduly prolonged,
continuous interrogation, especially by two or more interrogators working in relays, or the
deprivation of food, water, or access to toilet facilities for an unreasonable period of time.

(p. 214)

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e A threat of physical harm may have a similar effect — the extraction of confessions from
innocent persons. Similarly, an interrogator’s promise to a suspect that if he confesses he
will go free or receive only a lenient penalty will nullify the confession because such a
promise may induce an innocent person to confess rather than to risk criminal prosecution
or severe punishment. (p. 214)

e Of the various forms of indirect force, the one that most suggests confession coercion is
the participation of multiple interrogators over a lengthy period of time . .. Moreover, as
to the time factor, rarely will a competent interrogator require more than approximately 4

hours to obtain a confession from an offender, even in cases of a very serious nature. (p.
310)

e With regard to the threat factor of coercion, the most obvious example of conduct that will
invalidate a confession is when an interrogator leads a suspect to believe that unless he
confesses, he will be subjected to a loss of life or other bodily harm. The belief does not
require a specific expression from anyone to that effect; for example, it may result from an
act of physical abuse to some other presumed suspect within sight or hearing of the one
under interrogation. (p. 311)

e Several state legislatures have been more definitive with respect to the interested adult
requirement. They have prohibited any waiver without consultation with a parent or
lawyer, and have also declared invalid any confession obtained during an interrogation
outside the presence of a parent (or other guardian) or lawyer. (pp. 243-44).

e The issue of confession voluntariness in any particular youthful suspect case is determined
on the basis of what the courts term the ‘totality of the circumstances.’ This means that all
factors must be considered — the youth’s intelligence, education, background, and the
interrogation setting — to determine his vulnerability to possible suggestions and subtle
pressures on the part of this interrogator. (p. 243).

47. These same concepts are reiterated throughout the 4th Edition (2001) and current
5th Edition (2013) of the textbook.

48. Courts that have examined the Reid Technique have overwhelmingly upheld the
admissibility of confessions and found that Reid’s procedures are in compliance with acceptable

interrogation practices. In cases where confessions are rejected, interrogators frequently have

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engaged in behaviors outside the guidelines established in the Reid Technique, including making
promises of leniency, striking or threatening the subject, denying the subject rights or physical
needs, and conducting excessively long interrogations, or engaging in conduct that is not

appropriate for a juvenile or person with a mental impairment.

B. Netflix Published and Continues to Publish Making a Murderer Season 2, Recognizing
the Widely Accepted Use of the Reid Technique and That Alleged Coerced
Confessions May Occur When The Reid Technique Is Not Followed
49, On December 18, 2015, Netflix released a true crime documentary series entitled

Making a Murderer, which tracked the suspects accused and convicted of the 2005 murder of
Teresa Halbach, including their court proceedings, trials, appeals, and incarcerations. One of the
suspects, Brendan Dassey, a minor with learning disabilities, was arrested after confessing to law
enforcement his involvement in the crime. His conviction was challenged on grounds that included
the assertion that his confession was involuntary and had been coerced. The Seventh Circuit
upheld Dassey’s confession in Dassey v. Dittman, 877 F.3d 297 (7th Cir. 2017), despite law
enforcement’s failure to use the Reid Technique or adhere to the basic best practices guidelines
that are clearly stated by Reid, and use of practices that the Reid Technique expressly teaches
investigators not to use.

50. On October 19, 2018, Netflix released Season Two of Making a Murderer. One of
the issues examined by that program is whether the confession of Dassey, a minor with disabilities,
was coerced based on the techniques used by the interrogators. Both seasons of “Making a
Murderer” remain available for on-demand viewing.

51. In Episode Two of Making a Murderer Season Two, attorneys Laura Nirider and

Steven Drizin of the Northwestern University School of Law Center on Wrongful Convictions

discuss errors that the interrogators made during Dassey’s interrogation. They refer to Reid and

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the Reid Technique, distribute to their audience a hand-out of the Reid Technique, and highlight
that the interrogators of Dassey allegedly coerced the confession because they did not properly
follow the Reid Technique and deviated from it substantially.
52. During the episode, Nirider states that Reid has “developed the most widely used
interrogation technique in the country.” And Drizin notes:
John E. Reid cautions police officers, ‘deceptive tactics should not ordinarily be
used with individuals who have significant mental limitations or with youthful
suspects of low social maturity’.”
John E. Reid & Associates tells investigators that they should hold back some facts,
because if the suspect can give you those facts, then you have a pretty good idea
that what the suspect is telling you is true. ... These officers fed him the three
critical facts that were not publicly released before [Dassey’s] interrogation: Teresa
Halbach was shot in the head, her personal items were found in a burn barrel on the

Avery salvage yard, and the fact that someone went underneath the hood of the car
and did something with the engine.

2 2 oe
“Contamination occurs when investigators grow frustrated with an innocent
person’s inability to give them those facts. They wanted this information in the
worst way. And they got it in the worst way. [Dassey] has confessed.”
53. In connection with the “Making a Murderer” series, Netflix knew of the Reid
Technique, that it was widely used by law enforcement authorities, and that the alleged coerced
confession by Dassey occurred because the interrogators failed to use the Reid Technique or adhere

to the basic best practices guidelines that are clearly stated by Reid, and instead did exactly what

The Reid Technique teaches investigators not to do.

Cc, Netflix, in Collaboration with the DuVernay Defendants, Published and Continues to
Publish When They See Us, Which Defames Reid

54. Approximately seven months after Netflix released Season Two of Making A
Murderer and while it was available for on-demand viewing, on May 31, 2019, Netflix, in

collaboration with the DuVernay Defendants, aired Whey They See Us, a program that purported

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to portray true events surrounding the Central Park Jogger Case. The four-part series depicts
interrogations, confessions, trials, convictions, and imprisonments of the five defendants regarding
the 1989 rape and assault of a woman who had been jogging in Central Park in New York City.
In 1989, when their arrests, interrogations and confessions occurred, the five defendants were
between 14 and 16 years of age and in junior high school. The trailer to Episode One of When
They See Us is captioned “In the Spring of 1989, five boys of color are arrested, interrogated and
coerced into confessing to the vicious attack of a woman in Central Park”.

55. When They See Us also portrays as true events surrounding a 2002 re-investigation
of the case, a confession and DNA evidence reflecting the guilt of Mathias Reyes, a man not among
the five defendants, the dismissal of charges, and the release of the five defendants who were still
in prison at that time. The series also reflects a 2014 settlement award of 41 million dollars by the
City of New York to the five defendants arising from their claims that their convictions and
imprisonments were wrongful and their interrogations and confessions were coercive and illegal.

56. In Episode Four of When They See Us, a meeting is portrayed among Michael
Sheehan, a New York City detective who had worked on the Central Park Jogger Case and who
had been involved in eliciting the defendants’ confessions, Nancy Ryan, a Manhattan Assistant
District Attorney who oversaw the re-investigation leading to the vacating of the convictions
against the five defendants, and another person, identified in the script only as “Man,” who is
assisting Ryan in her discussion with Sheehan, and whom Netflix has identified as her “partner”.
Earlier in Episode Four and prior to the meeting with Sheehan, Ryan and her partner are seen as
gathering information as to the truth of the events surrounding the crime including: the confession
and DNA evidence reflecting the guilt of Matias Reyes, the flaws in the evidence against the five

defendants, and interrogations which included the police striking and otherwise physically abusing

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the five defendants, together with the coerced confessions they experienced. Ryan and her partner
are portrayed to be truthfully and accurately analyzing what occurred in the Central Park Jogger
Case.

57. In the Episode Four meeting with Sheehan, Ryan informs him of the new evidence
and criticizes the adequacy of his investigation and defendants’ confessions. Sheehan replies:
“They gave statements that I believe were true.”

58.  Ryan’s partner then states to Sheehan:

You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

59. Sheehan responds: “I don’t even know what the fucking Reid Technique is. Okay?
I know what I was taught. I know what I was asked to do and I did it.”

60. In Episode Four through their use of the characters of Ryan and her partner who
are portrayed as truth tellers, Defendants identify the Reid Technique with the squeezing of
statements out of the five defendants, who are minors, “after 42 hours of questioning and coercing,
without food, bathroom breaks, [and] withholding parental supervision.” That statement is false.
The Reid Technique does not endorse long hours of questioning, or coercing and depriving
subjects of food and bathroom breaks. The Reid Technique does not teach the withholding of
parental supervision for minor subjects who are being questioned by law enforcement. The Reid
Technique in fact expressly prohibits excessively long interrogations, denying subjects any of their
rights, and denying subjects the opportunity to satisfy their physical needs. The Reid Technique
also requires that special caution be exercised when questioning juveniles or individuals with

mental or psychological impairments.

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61. The statement, “The Reid Technique has been universally rejected”, is also false.
It was false as of 2002, the apparent time of the alleged conversation among Ryan, her partner,
and Sheehan portrayed in Episode Four.

62. Defendants made the false statements as of the date of initial publication of When
They See Us, May 31, 2019, and Defendants continue to re-publish the false statements today as
Netflix continues to stream the series.

63.  Sheehan’s saying that he did not know the name of the Reid Technique does not
detract from the falsity of the statements Defendants have made. The viewers have already been
told by Ryan and her partner, who are portrayed as credible and truthful, of the alleged missteps
in the investigation and the abusive interrogations and coerced confessions of the five defendants,
which are portrayed as resulting from the Reid Technique. When Sheehan states he did not know
the name of the technique he used, it does not detract from Defendants’ making clear that it was
indeed the Reid Technique, a technique Defendants represent as having been “universally
rejected”.

64. Since at least 2002 and through today, the Reid Technique has been a widely
accepted method of interviewing and interrogating subjects, as demonstrated by Reid conducting
over 6,500 seminars and training more than 200,000 people during that time period. It was not
“universally rejected” in 2002 or since. “Universally” means including or covering all or a whole
collectively without limit or exception. “Rejected” means not given approval or acceptance. The
statement that the Reid Technique has been “universally rejected” is false. In the context of When
They See Us, the statement tells the viewer that the Reid Technique is not approved or accepted by
anyone. The natural inference from the entire statement Defendants made as to Reid is that without

exception interviewers and interrogators have not approved or accepted the Reid Technique which

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permits the abusive and coercive measures used by Sheehan and other police with the five
defendants. That is false. The Reid Technique does not condone such behavior. The Reid
Technique has been viewed by many courts as a legal method of interrogation in cases that have
rejected claims that confessions were coerced. The Reid Technique has been continuously used
in the United States and other countries. It has been employed by various United States federal law
enforcement authorities, a multitude of state and local police, and many public and private
companies in connection with internal investigations and human resource matters.

65. | The aforementioned false statements as to the Reid Technique were fabricated by
Defendants and are not historically accurate. The “Man”, Ryan’s partner, is a fictional character
Defendants created.

66. When it published and re-published When They See Us, Netflix knew that the Reid
Technique was a widely accepted interrogation technique in the United States.

67. Netflix also knew that the interrogation measures used against the five defendants
were not condoned by Reid or permitted by the Reid Technique.

68. Making a Murderer Season Two, initially published by Netflix only a few months
betore When They See US was aired, and still available for viewing, contains a scene in which the
Reid Technique is described as “the most widely used interrogation technique in the country,” and
points out the ways in which the Reid Technique was not properly followed in the interrogation of
a minor subject with learning disabilities, Brendan Dassey. Netflix also knew from Making A
Murderer, Season Two, that the coercive conduct of the police as to the five defendants in When
They See Us should not have been identified as the Reid Technique.

69. At the very least, Netflix recklessly disregarded the truth of the fabricated and false

statements in When They See Us regarding Reid and the Reid Technique. Even the most basic

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search would have revealed that the Reid Technique has not been “universally rejected,” and that
it does not condone and prohibits excessively long interrogations, coercive conduct, including
striking or assaulting subjects, or depriving them of their rights, physical needs, or, in the case of
minors, withholding their parental supervision.

70. With respect to the accuracy of the statements as to the Reid Technique in When
They See Us, Netflix did research that included its review of articles by: Douglas Starr, “The
Interview: Do Police interrogation techniques produce false confessions?” The New Yorker,
December 6, 2013; and Douglas Starr, “Juan Rivera and the Dangers of Coercive Interrogation”,
The New Yorker, May 22, 2015. None of the articles or any other research done by Netflix
identified the Reid Technique with striking and assaulting subjects during interrogations, abusing
juvenile subjects and withholding parental supervision during unduly long hours of interrogation,
and depriving subjects of bathroom breaks and food. None of the articles or any other research
reviewed by Netflix reflected that the Reid Technique had been universally rejected.

71. Netflix entertained serious doubts as to the truth of the statements within When
They See Us that the Reid Technique includes striking and assaulting subjects during
interrogations, abusing juvenile subjects and withholding parental supervision during long hours
of interrogation, and depriving subjects of bathroom breaks and food.

72. Netflix entertained serious doubts as to the truth of the statement in When They See
Us that the Reid Technique has been universally rejected.

73. Despite its serious doubts as to the truth of these statements, Netflix published and
continues to publish When They See Us and the false statements identify the Reid Technique with
the squeezing of statements from juvenile subjects “after 42 hours of questioning and coercing,

without food, bathroom breaks, withholding parental supervision”.

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74. Despite serious doubts as to the truth of these statements that it entertained, Netflix
published and continues to publish When They See Us and the false statement that the Reid
Technique has been universally rejected.

75. Similarly, the DuVernay Defendants did research in connection with their work on
When They See Us. Their research included the areas of law enforcement interviews and
interrogations and the Reid Technique and information as to false confessions and wrongful
convictions. In DuVernay’s own words during an interview:

We did our research. We invited [the law enforcement personnel involved] to talk

to me so I could hear their experience, just like I did with the men. Very few took

me up on it, Some did off the record, so that their colleagues wouldn’t know that

they spoke. No one ever admitted any guilt. In their eyes, they didn’t do anything

wrong. That plus the court research and files that we were slipped, and material that

we got a hold of that we weren’t supposed to have, all the press coverage and all of

the interviews gave us a robust picture of that time. From there we went about in

constructing the story of the men.

76. In another interview, DuVernay stated that she “[read] the court transcripts and all
the paperwork on the case,” and: “reached out to Ms. Meili, I reached out to Ms. Fairstein, I
reached out to Ms. Lederer, I reached out to Mr. Sheehan—a lot of the key figures on the other
side . . . [I] invited them to sit down with me and talk with me so that they could share their point
of view and their side of things so that I could have that information.”

77. DuVernay has also mentioned that the statements within When They See Us are
supported by the public record:

“Everything that’s in the piece [When They See Us] is public record and it’s out

there, it had been, it had been told before by journalists, in books, in articles, in
documentary, in podcasts, I mean the story had been told”.

78. None of the DuVernay Defendants’ research reflected that the Reid Technique
includes striking and assaulting subjects during interrogations, abusing juvenile subjects and

withholding parental supervision during unduly long hours of interrogation, and depriving subjects

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of bathroom breaks and food. And none of their research reflected that the Reid Technique has
been universally rejected.

79. The DuVernay Defendants entertained serious doubts as to the truth of the
statements within When They See Us that the Reid Technique includes striking and assaulting
subjects during interrogations, abusing juvenile subjects and withholding parental supervision
during long hours of interrogation, and depriving subjects of bathroom breaks and food. The
DuVernay Defendants also entertained serious doubts as to the truth of the statement that the Reid
Technique has been universally rejected.

80. Regardless of their serious doubts as to truth, the DuVernay Defendants — in
collaboration with Netflix - published the false statements in When They See Us that identified the
Reid Technique with the squeezing of statements from juvenile subjects “after 42 hours of
questioning and coercing, without food, bathroom breaks, withholding parental supervision”.
They also published the false statement that the Reid Technique had been “universally rejected”.

81. |The DuVernay Defendants published the false statements as to Reid through
fabricating a conversation that did not occur between Detective Sheehan, Prosecutor Ryan, and
Ryan’s partner, who did not exist and was created by DuVernay. The DuVernay Defendants
intended, and the context in When They Us reflects, that Ryan and her partner be viewed as the
people who discovered what truly happened to the five defendants.

82. The DuVernay Defendants intended that When They See Us should, and the series
did, assign blame for the abusive interrogations, coerced confessions, wrongful convictions, and
imprisonments of the five defendants. The DuVernay Defendants intended that the blame include
Reid and fabricated a scene designed to broadcast to the audience a conversation they made up

that included false statements as to the Reid Technique.

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83. Netflix and the DuVernay Defendants have profited greatly from When They See
Us. With the knowledge and consent of the DuVernay Defendants, Netflix continues to republish
When They See Us by making it available for streaming worldwide by its members. The series has
now been viewed for approximately four months and remains readily available to all Netflix
subscribers to view. When They See Us has been viewed in Illinois and elsewhere by members of
law enforcement, private security, and educational institutions, among others. Reid’s customers
and target audience include the same groups.

84. When They See Us has been nominated for numerous Emmy Awards, all but
ensuring that it will continue to be viewed by millions going forward.

85. Reid, on the other hand, has been substantially harmed by Defendants’ defamatory
statements as to Reid’s business and profession.

86. A significant percentage of the more than 500,000 professionals who have attended
Reid’s training programs since 1974 are likely to have already viewed, or will view, When They
See Us. In fact, at nearly all of its seminars and programs, Reid now fields questions and negative
feedback regarding When They See Us and its criticism of the Reid Technique. Accordingly, Reid
has now dedicated a regular section of its training seminars and programs to addressing When They
See Us and the Central Park Jogger Case. Reid’s inclusion of these additional corrective measures
has been a drain on its time and resources.

87. Reid has also expended substantial time and resources to create marketing
materials, such as articles and blog posts, which rebut the false statements and conclusions
contained in When They See Us.

88. The false statements in When They See Us have impaired Reid’s reputation and

standing in the business community and have discouraged customers and clients from utilizing

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Reid or purchasing Reid’s training packages. The defamatory statements have caused Reid a loss
of revenue and profits.

89. On July 31, 2019, counsel for Reid sent correspondence to David Hyman, General
Counsel for Netflix, informing him that Netflix had defamed Reid in the When They See Us series.
(A copy of the July 31, 2019 letter is attached as Exhibit 1). The letter requested that Netflix
attempt to mitigate the damages to Reid by editing and deleting from the on-demand version of
the series the statements mentioning Reid. The letter demanded that Netflix issue a written
retraction of the defamatory statements. The correspondence also requested that Netflix preserve
all documents relating to Reid, the Reid Technique, and the When They See Us and Making A
Murderer series. Netflix received the correspondence on August 1, 2019.

90. Netflix refused Reid’s requests and demands made in the July 31, 2019
correspondence. Netflix has had the control and ability to edit the content of When They See Us
so as to delete the defamatory reference to the Reid Technique. Netflix has not deleted or retracted
the defamatory statements in When They See Us and continues to make the series available for
streaming to its more than 150 million subscribers.

91. The July 31, 2019 correspondence also alerted Netflix to the falsity or reckless
disregard for the truth as to the statements made in When They See Us as to Reid and the Reid
Technique.

92. Since receipt of the July 31, 2019 correspondence, Netflix, with the consent and
knowledge of the DuVernay Defendants, has continued to air the When They See Us series that
includes the aforesaid statements as to the Reid Technique, despite knowing that the statements

are false or in reckless disregard to their falsity.

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93. Because Netflix offered, and continues to offer When They See Us for streaming to
its subscribers worldwide at any time, Reid has sustained damages and will continue to sustain
damages so long as When They See Us and the defamatory statements therein remain available to
Netflix subscribers.

94. Because Reid. will continue to be harmed so long as Netflix continues to offer to its
subscribers When They See Us in the present form containing the defamatory statements, it will be
impossible for Reid to obtain adequate relief by way of money damages alone because of the
damage to its goodwill and reputation.

95. Reid will suffer irreparable harm because its reputation and goodwill will continue
to be diminished for as long as the defamatory content within When They See Us is available to
Netflix’s subscribers, many of which are Reid’s former, current, or prospective customers. The
false descriptions of the Reid Technique will also continue to irreparably harm Reid’s goodwill
and reputation.

COUNT I
(Defamation Per Se - Netflix)

96. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

97. Netflix has made and continues to publish false, defamatory statements of fact
about Reid in When They See Us, which include the following:

You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

98. The conduct described in Netflix’s statements is not the Reid Technique. Netflix’s

statements falsely identify the Reid Technique with “42 hours of questioning and coercing, without

food, bathroom breaks, [and] withholding parental supervision.”

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99.  Netflix’s statements are also false because the Reid Technique has not been
universally rejected.

100. Netflix knew when it made the statements that they were false, or exercised a
reckless disregard for their truth.

101. Netflix’s statements are defamatory, as they cause harm to the reputation of Reid,
lower Reid in the eyes of the community, and deter customers and clients from associating with
Reid.

102. Netflix made an unprivileged publication of the false, defamatory statements when
it released When They See Us to all Netflix subscribers for streaming on May 31, 2019.

103. Netflix has also made unprivileged republications of the false, defamatory
statements in When They See Us by continuously making the series available for streaming
worldwide to all of its members.

104. Netflix’s publications of the false, defamatory statements are defamatory per se
because they impute a want of integrity in Reid’s business, particularly its use of the Reid
Technique, and also prejudice Reid and impute a lack of ability in its trade, profession, or business.

105. Netflix has acted with actual malice in publishing the false, defamatory statements.

106. Netflix’s conduct proximately caused Reid actual damages.

107. Netflix is wealthy and punitive damages are warranted in an amount sufficient to
punish it and to deter it and others from such wrongful conduct.

WHEREFORE, Reid prays for judgment against Netflix and an award of:

(1) Actual damages in an amount to be determined at trial, but exceeding $75,000;

(2) Punitive damages;

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(3) The entry of a permanent injunction prohibiting Netflix from making When They
See Us in its current form available for streaming or in any other method of
transmission or format; alternatively, the entry of a permanent mandatory
injunction requiring Netflix to edit so as to delete the defamatory references to the
Reid Technique from any version of When They See Us made available for
streaming or in any other method of transmission or format; and

(4) For such other and further relief as the Court deems just and equitable.

COUNT I
(Defamation Per Quod - Netflix)

108. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

109. Netflix has made and continues to publish false, defamatory statements about Reid
in When They See Us, including the following:

You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

110. The conduct described in Netflix’s statement is not the Reid Technique. Netflix’s
statements falsely identify the Reid Technique with “42 hours of questioning and coercing, without
food, bathroom breaks, [and] withholding parental supervision.”

111. Netflix’s statements are also false because the Reid Technique has not been
universally rejected.

112. Netflix knew when it made the statements that they were false, or exercised a

reckless disregard for their truth.

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113. Netflix’s statements are defamatory, as they cause harm to the reputation of Reid,
lower Reid in the eyes of the community, and deter customers and clients from associating with
Reid.

114. Netflix made an unprivileged publication of these false, defamatory statements
when it released When They See Us to all Netflix subscribers for streaming on May 31, 2019.

115. Netflix has also made unprivileged republications of the false, defamatory
statements in When They See Us by continuously making the series available for streaming
worldwide to all of its members.

116. Reid has suffered substantial damages as a result of Netflix’s defamatory conduct.

117. At nearly all of its seminars and programs, Reid now fields questions and negative
feedback regarding When They See Us and its criticism of the Reid Technique. Accordingly, Reid
has now dedicated a regular section of its training seminars and programs to addressing When They
See Us and the Central Park Jogger Case. Reid’s inclusion of these additional corrective measures
is costly and has been a drain on its time and resources.

118. Reid has also expended substantial time and resources to create marketing
materials, such as articles and blog posts, which rebut the false statements and conclusions
contained in When They See Us.

119. The false statements in When They See Us have impaired Reid’s reputation and
standing in the business community in Illinois and elsewhere and have discouraged customers and
clients from utilizing Reid or purchasing Reid’s training packages. The cumulative effect of the
foregoing have substantially reduced Reid’s revenue and profits.

120. Netflix has acted with actual malice in publishing the false, defamatory statements.

121. Netflix’s conduct proximately caused Reid actual damages.

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122.

Netflix is wealthy and punitive damages are warranted in an amount sufficient to

punish it and to deter it and others from such wrongful conduct.

WHEREFORE, Reid prays for judgment against Netflix and an award of:

(1)
(2)
(3)

(4)

123.
forth herein.

124.

Actual damages in an amount to be determined at trial, but exceeding $75,000;
Punitive damages;

The entry of a permanent injunction prohibiting Netflix from making When They
See Us in its current form available for streaming or in any other method of
transmission or format; alternatively, the entry of a permanent mandatory
injunction requiring Netflix to edit so as to delete the defamatory references to the
Reid Technique from any version of When They See Us made available for
streaming or in any other method of transmission or format; and

For such other and further relief as the Court deems just and equitable.

COUNT Il
(False Light - Netflix)

Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set

Reid has been placed in a false light before the public as a result of Netflix’s actions

when it published When They See Us, which includes the following:

You squeezed statements out of them after 42 hours of questioning and
coercing, without food, bathroom breaks, withholding parental supervision.
The Reid Technique has been universally rejected. That’s truth to you.

125.

The conduct described in Netflix’s statement is not the Reid Technique. Netflix’s

statements falsely identify the Reid Technique with “42 hours of questioning and coercing, without

food, bathroom breaks, [and] withholding parental supervision.”

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126. Netflix’s statements are also false because the Reid Technique has not been
universally rejected.

127. Netflix knew when it made the statements that they were false, or exercised a
reckless disregard for their truth.

128. The false light caused by Netflix’s conduct would be highly offensive to a
reasonable person or business.

129. Netflix’s publications of these false statements which place Reid in a false light are
defamatory per se because the statements impute a want of integrity to Reid’s business, particularly
its use of the Reid Technique, and also prejudice Reid and impute a lack of ability to its trade,
profession, or business.

130. Further, Reid has suffered substantial damages as a result of Netflix’s defamatory
conduct.

131. Atnearly all of its seminars and programs, Reid now fields questions and negative
feedback regarding When They See Us and its criticism of the Reid Technique. Accordingly, Reid
has now dedicated a regular section of its training seminars and programs to addressing When They
See Us and the Central Park Jogger Case. Reid’s inclusion of these additional corrective measures
is costly and has been a drain on its time and resources.

132. Reid has also expended substantial time and resources to create marketing
materials, such as articles and blog posts, which rebut the false statements and conclusions
contained in When They See Us.

133. The false statements in When They See Us have impaired Reid’s reputation and

standing in the business community and have discouraged customers and clients from utilizing

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Reid or purchasing Reid’s training packages. The cumulative effect of the foregoing has
proximately caused a substantial reduction in Reid’s revenue and profits.
134. Netflix has acted with actual malice in publishing the false, defamatory statements.
135. Netflix’s conduct proximately caused Reid actual damages.
136. Netflix is wealthy and punitive damages are warranted in an amount sufficient to
punish it and to deter it and others from such wrongful conduct.
WHEREFORE, Reid prays for judgment against Netflix and an award of:
(1) Actual damages in an amount to be determined at trial, but exceeding $75,000;
(2) Punitive damages;
(3) The entry of a permanent injunction prohibiting Netflix from making When They
See Us in its current form available for streaming or in any other method of
transmission or format; alternatively, the entry of a permanent mandatory
injunction requiring Netflix to edit so as to delete the defamatory references to the
Reid Technique from any version of When They See Us made available for
streaming or in any other method of transmission or format; and
(4) For such other and further relief as the Court deems just and equitable.

COUNT IV
(Unjust Enrichment - Netflix)

137. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

138. Reid has suffered a detriment to its products and services in that the Reid Technique
has been falsely disparaged by Netflix, which has impaired Reid’s reputation and standing in the

business community and has diverted business opportunities away from Reid.

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139. Netflix has unjustly retained a benefit to Reid’s detriment by profiting from its false
and disparaging statements regarding the Reid Technique in When They See Us.

140. Netflix’s retention of its profits associated with When They See Us violates
fundamental principles of justice, equity, and good conscience.

WHEREFORE, Reid prays for judgment against Netflix including:

(1) A disgorgement of Netflix’s profits associated with When They See Us;

(2) The entry of a permanent injunction prohibiting Netflix from making When They
See Us in its current form available for streaming or in any other method of transmission or format;
alternatively, the entry of a permanent mandatory injunction requiring Netflix to edit so as to delete
the defamatory references to the Reid Technique from any version of When They See Us made
available for streaming or in any other method of transmission or format; and

(3) For such other and further relief as the Court deems just and equitable.

COUNT V
(Defamation Per Se —- DuVernay Defendants)

141. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

142. The DuVernay Defendants made false, defamatory statements of fact about Reid
when they published When They See Us, which include the following:

You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

143. The conduct described in the DuVernay Defendants’ statements is not the Reid

Technique. The DuVernay Defendants’ statements falsely identify the Reid Technique with “42

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hours of questioning and coercing, without food, bathroom breaks, [and] withholding parental
supervision.”

144. The DuVernay Defendants’ statements are also false because the Reid Technique
has not been universally rejected.

145. The DuVernay Defendants knew when they made the statements that they were
false, or exercised a reckless disregard for their truth.

146. The DuVernay Defendants’ statements are defamatory, as they harm the reputation
of Reid, lower Reid in the eyes of the community, and deter customers and clients from associating
with Reid.

147. The DuVernay Defendants made an unprivileged publication of the false,
defamatory statements when they published When They See Us in collaboration with Netflix on
May 31, 2019.

148. The DuVernay Defendants, in collaboration with Netflix, have also made
unprivileged republications of the false, defamatory statements in When They See Us by consenting
and encouraging Netflix to make When They See Us continuously available for streaming
worldwide to all of Netflix’s members.

149. The DuVernay Defendants’ publications of the false, defamatory statements are
defamatory per se because they impute a want of integrity to Reid’s business, particularly its use
of the Reid Technique, and also prejudice Reid and impute a lack of ability to its trade, profession,
or business.

150. The DuVernay Defendants have acted with actual malice in publishing the false,
defamatory statements.

151. The DuVernay Defendants’ conduct proximately caused Reid actual damages.

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152. The DuVernay Defendants are wealthy and punitive damages are warranted in an
amount sufficient to punish them and to deter them and others from such wrongful conduct.

WHEREFORE, Reid prays for judgment jointly and severally against the DuVernay
Defendants and an award of:

(1) Actual damages in an amount to be determined at trial, but exceeding $75,000;

(2) Punitive damages; and

(3) For such other and further relief as the Court deems just and equitable.

COUNT VI
(Defamation Per Quod —- DuVernay Defendants)

153. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

154. The DuVernay Defendants made false, defamatory statements about Reid when
they published When They See Us, which contain the following:

You squeezed statements out of them after 42 hours of questioning and

coercing, without food, bathroom breaks, withholding parental supervision.

The Reid Technique has been universally rejected. That’s truth to you.

155. The conduct described in the DuVernay Defendants’ statements is not the Reid
Technique. The DuVernay Defendants’ statements falsely identify the Reid Technique with “42
hours of questioning and coercing, without food, bathroom breaks, [and] withholding parental
supervision.”

156. The DuVernay Defendants’ statements are also false because the Reid Technique
has not been universally rejected.

157. The DuVernay Defendants knew when they made the statements that they were

false, or exercised a reckless disregard for their truth.

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158. The DuVernay Defendants’ statements are defamatory, as they cause harm to the
reputation of Reid, lower Reid in the eyes of the community, and deter customers and clients from
associating with Reid.

159. The DuVernay Defendants made an unprivileged publication of these false,
defamatory statements when they published When They See Us in collaboration with Netflix on
May 31, 2019.

160. The DuVernay Defendants, in collaboration with Netflix, have also made
unprivileged republications of the false, defamatory statements in When They See Us by consenting
and encouraging Netflix to make When They See Us continuously available for streaming
worldwide to all of Netflix’s members.

161. Reid has suffered substantial damages as a result of The DuVernay Defendants’
defamatory conduct.

162. At nearly all of its seminars and programs, Reid now fields questions and negative
feedback regarding When They See Us and its criticism of the Reid Technique. Accordingly, Reid
has now dedicated a regular section of its training seminars and programs to addressing When They
See Us and the Central Park Jogger Case. Reid’s inclusion of these additional corrective measures
is costly and has been a drain on its time and resources.

163. Reid has also expended substantial time and resources to creating marketing
materials, such as articles and blog posts, which rebut the false statements and conclusions
contained in When They See Us.

164. The false statements in When They See Us have impaired Reid’s reputation and

standing in the business community in Illinois and elsewhere and have discouraged customers and
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clients from utilizing Reid or purchasing Reid’s training packages. The cumulative effect of the
foregoing have substantially reduced Reid’s revenue and profits.

165. The DuVernay Defendants have acted with actual malice in publishing the false,
defamatory statements.

166. The DuVernay Defendants’ conduct proximately caused Reid actual damages.

167. The DuVernay Defendants are wealthy and punitive damages are warranted in an
amount sufficient to punish them and to deter them and others from such wrongful conduct.

WHEREFORE, Reid prays for judgment jointly and severally against the DuVernay
Defendants and an award of:

(1) Actual damages in an amount to be determined at trial, but exceeding $75,000;

(2) Punitive damages; and

(3) For such other and further relief as the Court deems just and equitable.

COUNT VII
(False Light - DuVernay Defendants)

168. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.
169. Reid was placed in a false light before the public as a result of the DuVernay
Defendants’ actions when they published When They See Us, which contain the following:
You squeezed statements out of them after 42 hours of questioning and
coercing, without food, bathroom breaks, withholding parental
supervision. The Reid Technique has been universally rejected. That’s
truth to you.

170. The conduct described in the DuVernay Defendants’ statements is not the Reid

Technique. The DuVernay Defendants’ statements falsely identify the Reid Technique with “42

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hours of questioning and coercing, without food, bathroom breaks, [and] withholding parental
supervision.”

171. The DuVernay Defendants’ statements are also false because the Reid Technique
has not been universally rejected.

172. The DuVernay Defendants knew when they made the statements that they were
false, or exercised a reckless disregard for their truth.

173. The false light caused by the DuVernay Defendants’ conduct would be highly
offensive to a reasonable person or business.

174. The DuVernay Defendants’ publications of these false statements which placed
Reid in a false light were defamatory per se because the statements impute a want of integrity to
Reid’s business, particularly its use of the Reid Technique, and also prejudice Reid and impute a
lack of ability to its trade, profession, or business.

175. Further, Reid has suffered substantial damages as a result of the DuVernay
Defendants’ defamatory conduct.

176. At nearly all of its seminars and programs, Reid now fields questions and negative
feedback regarding When They See Us and its criticism of the Reid Technique. Accordingly, Reid
has now dedicated a regular section of its training seminars and programs to addressing When They
See Us and the “Central Park Jogger Case.” Reid’s inclusion of these additional corrective
measures is costly and has been a drain on its time and resources.

177. Reid has also expended substantial time and resources to create marketing
materials, such as articles and blog posts, which rebut the false statements and conclusions

contained in When They See Us.

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178. The false statements in When They See Us have impaired Reid’s reputation and
standing in the business community and have discouraged customers and clients from utilizing
Reid or purchasing Reid’s training packages. The cumulative effect of the foregoing has
proximately caused a substantial reduction in Reid’s revenue and profits.

179. The DuVernay Defendants have acted with actual malice in publishing the false,

defamatory statements.

180. The DuVernay Defendants’ conduct proximately caused Reid actual damages.

181. The DuVernay Defendants are wealthy and punitive damages are warranted in an
amount sufficient to punish them and to deter them and others from such wrongful conduct.

WHEREFORE, Reid prays for judgment jointly and severally against the DuVernay
Defendants and an award of:

(1) Actual damages in an amount to be determined at trial, but exceeding $75,000;

(2) Punitive damages; and

(3) For such other and further relief as the Court deems just and equitable.

COUNT VIII
(Unjust Enrichment — DuVernay Defendants)

182. Reid hereby reasserts and re-alleges paragraphs 1 through 95 as though fully set
forth herein.

183. Reid has suffered a detriment to its products and services in that the Reid Technique
has been falsely disparaged by the DuVernay Defendants, which has caused Reid’s reputation and
standing in the business community to be impaired, and has diverted business opportunities away

from Reid.

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184. The DuVernay Defendants have unjustly retained a benefit to Reid’s detriment by
profiting from their false and disparaging statements regarding the Reid Technique in When They
See Us.

185. The DuVernay Defendants’ retention of its profits associated with When They See
Us violates fundamental principles of justice, equity, and good conscience.

WHEREFORE, Reid prays for judgment jointly and severally against the DuVernay
Defendants including:

(1) A disgorgement of the DuVernay Defendants’ profits associated with When They
See Us; and

(2) For such other and further relief as the Court deems just and equitable.

Respectfully submitted,

JOHN E. REID & ASSOCIATES, INC.

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Jack J. Carriglio (jcarriglio@cozen.com)
Corey T. Hickman (chickman@cozen.com)

COZEN O'CONNOR

123 North Wacker Drive, Suite 1800
Chicago, Illinois 60606

Tel: 312-474-7900

Fax: 312-382-8910

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